95 F.3d 42
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eugene STEPHENS, Plaintiff--Appellant,v.Deputy HUFFMAN;  Roanoke City Jail, Defendants--Appellees.Eugene STEPHENS, Plaintiff--Appellant,v.Karen MILLER, Dr.;  Medical Department, Roanoke City Jail;A. Hudson, Sheriff, Defendants--Appellees.
    Nos. 96-6514, 96-6515.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 15, 1996.Decided Aug. 21, 1996.
    
      Eugene Stephens, Appellant Pro Se.
      Before MURNAGHAN and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. § 1983 (1988) complaints.  We have reviewed the records and the district court's opinions and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Stephens v. Huffman, No. CA-96-288-R;  Stephens v. Miller, CA-96-287-R (W.D.Va. Mar. 22, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    